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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Vv. Case No. 1:21-er-292-RCL
CHIRSTOPHER WORRELL,

Defendant.

ORDER

For the reasons stated in open court, it is ADJUDGED that the Warden of the D.C. Jail
Wanda Patten and Director of the D.C. Department of Corrections Quincy Booth are in civil
contempt of court. The Clerk of the Court is ORDERED to transmit a copy of this order this order
to the Attorney General of the United States for appropriate inquiry into potential civil rights
violations of January 6 defendants, as exemplified in this case. Assistant United States Attorney
William K. Dreher can provide appropriate records from this case.

IT IS SO ORDERED.

King C. PoC

Date: “@/3 /au Royce C. Lamberth
United States District Judge
